                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                      NO. 5:07-CR-117-BR


 UNITED STATES OF AMERICA                     )
                                              )
         v.                                   )
                                              )        ORDER
 LAURINDA HOLOHAN                             )
 SCOTT B. HOLLENBECK                          )


       This matter is before the court on defendant Holohan’s motion for judgment of acquittal or

for a new trial pursuant to Federal Rules of Criminal Procedure 29(c) and 33 and defendant

Hollenbeck’s motion for judgment of acquittal pursuant to Rule 29(c). The government has filed

responses in opposition to both motions.

       In ruling on a Rule 29 motion, the court must “sustain a guilty verdict that, viewing the

evidence in the light most favorable to the prosecution, is supported by ‘substantial evidence.’”

United States v. Osborne, 514 F.3d 377, 385 (4th Cir. 2008)(citation omitted). “Substantial

evidence” is “evidence that a reasonable finder of fact could accept as adequate and sufficient to

support a conclusion of a defendant's guilt beyond a reasonable doubt.” Id. (citation and quotation

omitted). Considering all the evidence in the light most favorable to the government, the court finds

that substantial evidence supports the verdicts.

       Turning to defendant Holohan’s alternative motion, “[a] district court may, in its discretion,

award a new trial ‘if the interest of justice so requires.’” United States v. Singh, No. 06-4338,

F.3d , 2008 WL 343637, *9 (4th Cir. Feb. 8, 2008)(quoting Fed. R. Crim. P. 33(a)). “Despite this

deferential standard, however, . . . ‘[u]nder the applicable legal principles, a trial court “should




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exercise its discretion to award a new trial sparingly,” and a jury verdict is not to be overturned

except in the rare circumstance when the evidence “weighs heavily” against it.’” Id. (citation

omitted)(alteration in original). The court finds the evidence was sufficient to support the verdicts

against defendant Holohan.

       The motions are DENIED.

       This 17 March 2008.




                                              __________________________________
                                                    W. Earl Britt
                                                    Senior U.S. District Judge




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